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FILED

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA = 99) sate 9: Q8

JACKSONVILLE DIVISION ba
CLERK, US DISTRICT COUR
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JRERSONELE FLORIDA
UNITED STATES OF AMERICA
v. CASE NO. 3:10-cr-227(S1)-J-34TEM
Ct. 1: 18 U.S.C. § 1591
ALFREDO MARTINEZ RIQUENE Ct. 2: 18 U.S.C. §§ 2251(a) and (e)
Ct. 3: 18 U.S.C. § 2252(a)(4)(B)
Ct. 4: 18 U.S.C. § 1001

Forfeiture: 18 U.S.C. § 1594

SUPERSEDING INDICTMENT

The Grand Jury charges:

COUNT ONE
Between on or about February 24, 2010, and on or about March 31, 2010, in
Duval County, in the Middle District of Florida,
ALFREDO MARTINEZ RIQUENE,
the defendant herein, in and affecting interstate commerce, did knowingly recruit,
entice, harbor, transport, provide, obtain and maintain a person, that is A.B., while
knowing and in reckless disregard of the fact that A.B. had not attained the age of
eighteen (18) years and would be caused to engage in a commercial sex act.
All in violation of Title 18, United States Code, Section 1591.
COUNT TWO
Between on or about February 24, 2010, and on or about March 31, 2010, in
Duval County, in the Middle District of Florida,

ALFREDO MARTINEZ RIQUENE,
. Case 3:10-cr-00227-MMH-PDB Document 36 Filed 01/13/11 Page 2 of 6 PagelD 59

the defendant herein, did knowingly employ, use, persuade, induce, entice, and coerce
a minor, that is A.B., to engage in sexually explicit conduct for the purpose of producing
visual depictions of such conduct, which visual depictions were produced using
materials that have been mailed, shipped and transported in and affecting interstate
and foreign commerce.

All in violation of Title 18, United States Code, Section 2251(a) and (e).

COUNT THREE
On or about November 8, 2010, in Duval County, in the Middle District of Florida,
ALFREDO MARTINEZ RIQUENE,

the defendant herein, did knowingly possess at least one matter which contains any
visual depiction that was produced using materials which had been mailed and shipped
and transported using any means and facility of interstate and foreign commerce,
including by computer, the production of such visual depiction involving the use of a
minor engaging in sexually explicit conduct, and such visual depiction was of such
conduct

Allin violation of Title 18 United States Code Section 2252(a)(4)(B).

COUNT FOUR
On or about July 28, 2010, at Jacksonville, in the Middle District of Florida,
ALFREDO MARTINEZ RIQUENE,

the defendant herein, did knowingly and willfully make false, fictitious and fraudulent
material statements and representations in a matter within the jurisdiction of the Federal

Bureau of Investigation, an agency of the United States, by stating that a minor, A.B.,
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had never been in his bedroom and any other part of his house, that he did not have
sex with A.B., and that he never touched A.B., which the defendant then knew to be
false, fictitious and fraudulent.

In violation of Title 18, United States Code, Section 1001.

FORFEITURE

1. The allegations contained in Counts One through Three of this
Superseding Indictment are hereby realleged and incorporated by reference for the
purpose of alleging forfeiture pursuant to the provisions of Title 18, United States Code,
Section 1594, and Title 18, United States Code, Section 2253.

2. From his engagement in the violation alleged in Count One of this
Superseding Indictment, the defendant,

ALFREDO MARTINEZ RIQUENE,
shall forfeit to the United States of America, pursuant to Title 18, United States Code,
Section 1594, (1) any property, real or personal, used or intended to be used to commit
or to facilitate the commission of the offense; and (2) any property, real or personal,
constituting or derived from, any proceeds obtained, directly or indirectly, as a result of
the offense, including but not limited to the following:
a. an eMachines model W3650 CPU, serial number XGM85 600
004459, with a DVD +/-R/W/RAM drive; and
b. a Maxtor model D740X-6L 60GB hard drive, serial number
663215656049.
3. Pursuant to Title 18, United States Code, Section 2253, upon conviction

of an offense in violation of Title 18, United States Code, Section 2252, the defendant,

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ALFREDO MARTINEZ RIQUENE, shall forfeit to the United States of America:

a. Any visual depiction described in Title 18, United States Code,
sections 2251, 2251A, or 2252, or any book, magazine, periodical,
film, videotape, or other matter which contains any such visual
depiction, which was produced, transported, mailed, shipped or
received in violation of Title 18, United States Code, Chapter 110;

b. Any property, real or personal, constituting or traceable to gross
profits or other proceeds obtained from the offenses; and

C. Any property, real or personal, used or intended to be used to
commit or to promote the commission of the offenses.

The property to be forfeited includes, but is not limited to, the following:
1. an eMachines model W3650 CPU, serial number XGM85
600 004459, with a DVD +/-R/W/RAM drive; and
2. a Maxtor model D740X-6L 60GB hard drive, serial number
663215656049.
4. If any of the above-described forfeitable property, as a result of any act or
omission of the defendant --

(1) cannot be located upon the exercise of due diligence;

(2) has been transferred or sold to, or deposited with, a third person;

(3) has been placed beyond the jurisdiction of the Court;

(4) has been substantially diminished in value; or

(5) has been commingled with other property which cannot be
subdivided without difficulty,

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the United States of America shall be entitled to forfeiture of substitute property under
the provisions of Title 21, United States Code, Section 853, as incorporated by Title 18,

United States Code, Section 2253(b).

A TRUE '

 

Foreperson J

ROBERT E. O'NEILL

 

By:

 

MACND-HEAVENER , III
Assistant United States Attorney
Deputy Chief, Jacksonville Division

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ULIE HACKENBERRY SAVELL
sistant United States Attorney
Chief, Jacksonville Division
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UNITED STATES DISTRICT COURT

Middle District of Florida
Jacksonville Division

 

THE UNITED STATES OF AMERICA
vs.
ALFREDO MARTINEZ RIQUENE
INDICTMENT
Violations:
Ct. 1: 18 U.S.C. § 1591
Ct. 2: 18 U.S.C. §§ 2251(a) and (e)

Ct. 3: 18 U.S.C. § 2252(a)(4)(B)
Ct. 4: 18 U.S.C. “8 1001

LJ

 

 

 

Filed in open court this 13th day

of January, 2011.

 

Clerk Zr

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